74 F.3d 1232NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Michael X. JOHNSON, Plaintiff-Appellant,v.J. SMITH, Regional Director;  G. Bass, Deputy Warden;  M.Patterson, Lieutenant;  S. Bacon, CommandingOfficer;  A. Roney, Commanding Officer,Defendants-Appellees.
    No. 95-7179.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  December 14, 1995.Decided:  January 11, 1996.
    
      Michael X. Johnson, Appellant Pro Se.  Jill Theresa Bowers, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, VA, for Appellees.
      Before ERVIN, Chief Judge, and WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Johnson v. Smith, No. CA-95-273-AM (E.D.Va. July 19, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    